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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                       No. CR-19-00898-001-PHX-DLR
 9
                           Plaintiff,
10                                                   ORDER
              vs.
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12   David Allen Harbour,
13                         Defendant.
14          At the continued evidentiary hearing held on June 23, 2022, the Court ruled on
15   Defendant’s Motion to Dismiss Second Superseding Indictment or Alternatively to
16   Continue Trial Date (Doc. 389). The Court denied the Motion to Dismiss. The Court
17   further ruled, finding that it was in the interests of justice to grant Defendant’s Motion to
18   Continue. The Court agreed with Defense Counsel, Mr. Dichter, after reviewing the
19   superseding indictment and the additional new counts, that additional time to prepare was
20   necessary for counsel to be adequately prepared to effectively represent his client at trial.
21          Because of Mr. Dichter’s trial schedule and the additional time needed to prepare
22   for this trial, several alternative dates suggested by the Court were not scheduled. Instead,
23   the Court set a trial date in January. Because that conflicted with a trial involving Mr.
24   Dichter, the Court conferred with District Judge Ronnie Abrams, the trial judge involving
25   Mr. Dichter in the Southern District of New York, United States v. Ingarfield (20 C.R.
26   146). After conferring with Judge Abrams, the judges agreed that the Igarfield trial will
27   not be continued, but will commence on January 8, 2023, as currently scheduled.
28   Therefore, as discussed with counsel at the June 23, 2022 Evidentiary Hearing, the trial in
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 1   this matter will be moved and will commence on February 1, 2023. Accordingly,
 2         IT IS ORDERED continuing the trial in this matter from January 10, 2023, to,
 3   February 1, 2023 at 9:00 a.m. The Court finds excludable delay under Title 18 U.S.C
 4   §3161(h)(7)(A) from 1/11/2023 to 2/1/2023.
 5         Dated this 7th day of July, 2022.
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 8                                                Douglas L. Rayes
                                                  United States District Judge
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